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 8
                             UNITED STATES DISTRICT COURT
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                           SOUTHERN DISTRICT OF CALIFORNIA
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12   Pocket Socks, Inc., a California                        '24CV1076 JLS AHG
                                                    Case No. _______________
     corporation,
13
                           Plaintiff,
14                                                  COMPLAINT FOR TRADEMARK
                  v.                                INFRINGEMENT, TRADE DRESS
15                                                  INFRINGEMENT AND UNFAIR
   Louis Vuitton Malletier, a foreign               COMPETITION
16 company, Louis Vuitton North
   America, Inc., a Delaware corporation,
17 and Pharrell Williams, an individual,            DEMAND FOR JURY TRIAL
18                         Defendant.
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           For its Complaint, Plaintiff Pocket Socks, Inc. (“Pocket Socks”) hereby
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     alleges as follows:
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                                  JURISDICTION AND VENUE
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           1.     This Court has subject matter jurisdiction including under 28 U.S.C. §§
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     1331 (federal question), 1338(a) (patents) and 1367 because this is a civil action for
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     patent, trademark and trade dress infringement arising under the federal laws of the
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     United States.
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 1         2.       This Court has personal jurisdiction over Defendants because each has
 2   committed its unlawful acts alleged herein in California and in this District, and
 3   each Defendant regularly conducts business in this District and/or engages in
 4   continuous and systematic activities in this District.
 5         3.       Venue is proper in this Judicial District under 28 U.S.C. §§ 1391(b)-(c)
 6   and 1400(b).
 7                                          PARTIES
 8         4.       Plaintiff Pocket Socks is a California corporation having its principal
 9   place of business in Carlsbad, California.
10         5.       Upon information and belief, Defendant Louis Vuitton Malletier
11   (“LVM”) is a foreign business entity organized under the laws of the Republic of
12   France with its principal place of business located at 2, rue du Pont-Neuf in Paris,
13   France 75034. LVM operates boutiques throughout the world, including within this
14   District. LVM is, in part, engaged in the business of manufacturing, marketing, and
15   distributing throughout the world, including within this District, a variety of luxury
16   goods including the accused infringing products. LVM offers for sale and sells its
17   goods in California including within this District, through its boutiques, and online
18   retail website.
19         6.       Upon information and belief, Defendant Louis Vuitton North
20   American, Inc. (“LVNA”) is a Delaware corporation with its principal place of
21   business at 1 East 57th Street, 10th Floor, New York, NY 10022. LVNA operates
22   boutiques throughout the world, including within this District. LVNA is, in part,
23   engaged in the business of marketing and distributing a variety of luxury goods
24   including the accused infringing products. LVNA offers for sale and sells its goods
25   in California including within this District.
26         7.       Upon information and belief, Defendant Pharrell Williams is an
27   individual residing in California who has committed the unlawful acts alleged herein
28   in California and in this District.

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 1                                BACKGROUND FACTS
 2         8.     As outlined on its official website <pocketsocks.com>, Pocket Socks is
 3   a distinctive brand originating from an incident involving its founder, Evan Papel.
 4   While traveling through Europe, Mr. Papel’s money was stolen, prompting him to
 5   create ZIP IT GEAR as a travel security solution. In 2012, Mr. Papel reestablished
 6   the brand under the name Pocket Socks.
 7         9.     Following a significant investment in 2019, the Pocket Socks brand
 8   was substantially enhanced and it developed an exclusive line of socks that
 9   subsequently garnered national attention by being featured on ABC’s Good Moring
10   America. See https://www.youtube.com/watch?v=OWFdlfQFlEM&t=53s (last
11   visited June 3, 2024). In November 2020, Pocket Socks and its products and brand
12   acquired even more goodwill by partnering with ABC’s The View and donating over
13   12,000 meals to <ItsAllAboutTheKids.org>.
14         10.    Pocket Socks has taken consistent steps and actions to protect and
15   police its intellectual property rights, including stopping others from conflicting
16   uses. For example, on August 28, 2012, Pocket Socks was granted U.S. Trademark
17   Registration No. 4,200,363 for POCKET SOCKS, a true and correct copy of which
18   is attached herewith as Exhibit A. On October 8, 2013, Pocket Socks was granted
19   U.S. Trademark Registration No. 4,414,045 for POCKET SOCKS, a true and
20   correct copy of which is attached herewith as Exhibit B. On May 26, 2020, Pocket
21   Socks was granted U.S. Trademark Registration 6,066,095 for its distinctive trade
22   dress, a true and correct copy of which is attached herewith as Exhibit C. On
23   October 4, 2022, Pocket Socks was granted U.S. Design Patent No. D965,284
24   entitled “Sock With Zippered Pocket” (“the ‘284 patent”), a true and correct copy of
25   which is attached herewith as Exhibit D. Recently, U.S. Trademark Application
26   Serial No. 98061511 for POCKET SOCKS was approved.
27         11.    All of these many years of diligence, effort and expense has been aimed
28   at creating Pocket Socks’ distinctive products and brand, principally the POCKET

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 1   SOCKS name. The Pocket Socks brand continues to grow and expand today, and
 2   will expand into the future.
 3         12.    Defendants have recently begun to produce, market and sell a product
 4   using the same “Pocket Socks” name and brand, for a similar (although luxury-
 5   priced) product.
 6         13.    For example, on June 2023, in collaboration with Defendant Pharrell
 7   Williams, Defendants began using, marketing, offering for sale, and selling Louis
 8   Vuitton “Pocket Socks” at Paris Fashion Week, as shown below. See
 9   https://footwearnews.com/fashion/designers/louis-vuitton-pharrell-mens-spring-
10   summer-2024-collection-1203480505/ (last visited June 3, 2024).
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12            Macalla tte @MacNuppet • Jun 23. 2023
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              Anyways where cl o I buy a se
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 1            14.        Below is another image of the Louis Vuitton “Pocket Socks.” See
 2   https://www.instagram.com/p/C2HyzW6rn2I/?utm_source=ig_web_button_share_s
 3   heet (last visited June 3, 2024).
 4
       q~                                                                                                        IMS       SignUp

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                                                                      the design of these wardrobe
                                                                      essentials offered in a neutral w hite
 8                                                                    colou rway to complement virtua lly any
                                                                      ensemble, whether casual or more

 9
                                                                      dressed up.

                                                                      A colourful signature accent for the

10                                                                    season 's silhouettes, here are the new
                                                                      Dam ier Pop Socks, offered in a duo of
                                                                      mood- lifting hues. Knitted from a
11                                                                    comfortable cotton blend, they fea ture
                                                                      the House's heritage check pattern
                                                                      along with the new 'Lou is Vuitton
12                                                                    M arque Deposee' trademark,
                                                                      int roduced at the M en 's Spring -

13
                                                                      Summer 2024 Show.

                                                                      #leaguefits #lou isvuitton
14                                                                    #lou isvuittonbags #louisvuittonbag
                                                                      #lou isvuittonadd ict #louisvuitton lover
                                                                      #lvcommunity #lvworld #leaguefits
15                                                                    #hvnPhPrlo;t #,;rlk,; #f~,;hinnhlnnnPr



16
                                                              3,314 likes

17
                                                              January 1'i

                                                              Log in to like or comment.
18

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20     More posts from louisvuitton.dom



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22            15.        Defendants advertise and sell their “Pocket Socks” on the Louis
23   Vuitton website (an image of which is below), and the product details state: “The
24   season’s signature Pearl accent, engraved with LV Initials, adorns the Pocket Socks,
25   as stylish pair crafted from pure, comfortable cotton. The heritage Damier pattern is
26   subtly knitted into the design of these wardrobe essentials offered in a neutral white
27   colourway to complement virtually any ensemble, whether casual or more dresses
28   up.” See https://us.louisvuitton.com/eng-us/products/pocket-socks-s00-

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 1   nvprod4920069v/M7355L?gad_source=1&gclid=Cj0KCQjw0_WyBhDMARIsAL1
 2   Vz8vt4tTwFh_13Dy1uZBoXLbYQBX0V8GJ4eLejr7R5JS3KYkkq-
 3   2Pf5UaAscXEALw_wcB&gclsrc=aw.ds (last visited June 3, 2024).
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 8                                                                              RUNWAY

                                                                                Pocket Socks

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11                                                                                                      Place m Cart




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                                                                                12pm ET to receive by 6/14 for irMtock items




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14                                                                              Delivery & Return$

                                                                                Gifting

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              16.            Defendants’ use of “Pocket Socks” appears in the same font and size as
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     in Pocket Socks’ U.S. Trademark Registration No. 4,414,045.
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              17.            On March 25, 2024, Plaintiff purchased Defendants’ product at the
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     Louis Vuitton store at 7007 Friar Road, San Diego, CA 92108, a true and correct
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     image of which is attached herewith as Exhibit E.
23
              18.            A receipt for an online purchase of Defendants’ product—showing the
24
     “Pocket Socks” name—is attached herewith as Exhibit F.
25
              19.            Recently, much attention and publicity has been generated for Louis
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     Vuitton’s “Pocket Socks,” including Defendants, the press and consumers using the
27
     name “Pocket Socks” for their product which irreparably injures Pocket Socks’
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 1   longstanding brand and trademark rights. Attached herewith as Exhibit G are
 2   examples of this publicity.
 3         20.    Defendants have been paying to advertise their “Pocket Socks” product
 4   using Pocket Socks’ trademark as a search term, which further irreparably injures
 5   Pocket Socks’ longstanding brand and trademark rights. Attached herewith as
 6   Exhibit H is an example of Defendants’ advertising using the trademark at issue.
 7                              FIRST CLAIM FOR RELIEF
 8                                 (Trademark Infringement)
 9         21.    Pocket Socks incorporates by this reference all of the allegations stated
10   in the above paragraphs.
11         22.    Under 15 U.S.C. § 1114(1)(a) and § 1125(a), each Defendant is liable
12   for infringement of Pocket Socks’ trademarks, including the word mark POCKET
13   SOCKS, because Defendants have, without consent, used in commerce the name
14   POCKET SOCKS in connection with the sale, offering for sale, distribution and/or
15   advertising of their associated products, which use is likely to cause confusion, or to
16   cause mistake, or to deceive consumers of the parties’ similar and competitive
17   products.
18         23.    On information and belief, each Defendant has engaged in the
19   infringing acts with knowledge that such imitation is intended to be used to cause
20   confusion, or to cause mistake, or to deceive.
21                              SECOND CLAIM FOR RELIEF
22                                 (Trade Dress Infringement)
23         24.    Pocket Socks incorporates by this reference all of the allegations stated
24   in the above paragraphs.
25         25.    Under 15 U.S.C. § 1114(1)(a) and § 1125(a), each Defendant is liable
26   for infringement of Pocket Socks’ trade dress in and to its POCKET SOCKS
27   products because Defendants have, without consent, used in commerce a trade dress
28   in connection with the sale, offering for sale, distribution and/or advertising of their

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 1   associated products, which use is likely to cause confusion, or to cause mistake, or
 2   to deceive consumers of the parties’ similar and competitive products.
 3            26.   On information and belief, each Defendant has engaged in the
 4   infringing acts with knowledge that such imitation is intended to be used to cause
 5   confusion, or to cause mistake, or to deceive.
 6                               THIRD CLAIM FOR RELIEF
 7                                     (Unfair Competition)
 8            27.   Pocket Socks incorporates by this reference all of the allegations stated
 9   in the above paragraphs.
10            28.   By its acts alleged herein, each Defendant has knowingly engaged in
11   unfair acts or practices and unfair methods of competition, including but not limited
12   to making misrepresentations about its products, and otherwise engaging in
13   deceptive trade practices and unlawful, unfair or fraudulent business acts or
14   practices, in violation of Cal. Bus. & Prof. Code § 17200.
15            29.   Each Defendant’s unfair competition has resulted in and continues to
16   result in unjust enrichment, and each has committed its acts of unfair competition
17   willfully and maliciously to injure Pocket Socks’ business and improve its own.
18            30.   Pocket Socks also has suffered and continues to suffer irreparable
19   injury, including damage to customer relationships because of each Defendant’s
20   unfair competition. Such irreparable injury cannot be remedied adequately unless
21   each Defendant is enjoined immediately from further unfair competition, and
22   commanded to rectify the status quo ante.
23                                   PRAYER FOR RELIEF
24            Therefore, Plaintiff Pocket Socks prays for the following relief:
25            A.    A determination that each Defendants has infringed one or more of
26   Pocket Socks’ trademarks;
27            B.    A determination that each Defendant has infringed Pocket Socks’ trade
28   dress;

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 1         C.     A determination that each Defendant has engaged in unfair competition
 2   in violation of Cal. Bus. & Prof. Code § 17200;
 3         D.     An accounting for damages adequate to compensate for Defendants’
 4   unlawful actions and/or unfair competition, including under 15 U.S.C. § 1117(a),
 5   and increased and/or treble damages;
 6         E.     Equitable relief including a preliminary and permanent injunction
 7   prohibiting further unlawful actions;
 8         F.     A determination that this is an exceptional case, and an award of costs,
 9   expenses and attorney fees to Pocket Socks;
10         G.     Pre-judgment and post-judgment interest on such monetary relief; and
11         H.     Such other and further relief as this Court deems just and proper.
12

13                                           Respectfully submitted,
14   Dated: June 20, 2024                    SML AVVOCATI P.C.
15                                           By:    /s/ Stephen M. Lobbin
                                                    Attorneys for Plaintiff
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